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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA


PFIZER INC.,

                               Plaintiff,

       vs.                                                   Civil Action No. 2: 17-cv-4180 (J J)
                                                                                              1




JOHNSON & JOHNSON and JANSSEN BIOTECH,:
INC.,                                 :


                               Defendants.



                       STIPULATION FOR LEAVE TO FILE REPLY BRIEF

       WHEREAS, on November 28, 2017, Defendants Johnson & Johnson and Janssen

Biotech, Inc. filed a Motion to Dismiss the Complaint (Docket No. 27);

       WHEREAS, the Court by order dated December 6, 2017 approved the parties' stipulation

extending the time for Plaintiff Pfizer Inc. to respond to Defendants' Motion to Dismiss up 11

and including January 12, 2018 (Docket No. 32);

       WHEREAS, Pflzer Inc. thereafter filed its opposition to Defendants' Motion to Dis1·ss

on January 12, 2018 (Docket No. 42);

       IT IS HEREBY STIPULATED AND AGREED by the undersigned parties, through their

respective counsel, that in order to respond to the arguments raised by Pfizer Inc. in its

opposition, Defendants Johnson & Johnson and Janssen Biotech, Inc. may file a reply brief in

further support of their Motion to Dismiss on or before February 1, 2018.

       No provision of this Stipulation shall be construed as a waiver of, and the parties her by

expressly reserve, any and all claims and defenses.




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Dated: January 17, 2018

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So Ordered:




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